        Case 4:09-cr-00278-BRW Document 348 Filed 10/21/13 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

VS.                                  4:09-CR-00278-04-BRW

WILLIAM AUSTIN VICKERS                                                         DEFENDANT

                                           ORDER

       Pending is Defendant’s pro se Motion for Early Termination of Supervised Release

(Doc. No. 346). Both the Prosecution and Defendant’s supervising officer have advised the

Court that they do not object to Defendant’s Motion.

       Based on the parties’ representations, the Motion is GRANTED, and Defendant is

released from further supervision.

       IT IS SO ORDERED this 19th day of October, 2013.



                                                /s/Billy Roy Wilson
                                          UNITED STATES DISTRICT JUDGE
